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IN THE UNITED STATES DISTRICT COURT 05*1’9 19 PH 2= 50
FoR THE WESTERN DISTRICT oF TENNESSEE

 

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WESTERN DIVISION UBK. U.S. .E?S?RlCT COLBT
W,FD ile tit MH\.¢PHB
JOAN FERRARI, et al.,
Plaintiffs, ' Case No.: 03-2216 D

V.

ACCREDO HEALTH, INC., DAVID D. STEVENS,
and JOEL KIMBROUGH,

Defendant.

 

OR_DER GRANTlNG PRO HAC VICE ADMISSION OF ER_IN P. MCDANIEL
AS COUNSEL FOR PLAINT[FF DEBRA SWIMAN

 

Before the court is the motion of B.J. Wade requesting admission of Erin P. McDaniel pro
hac vice to represent lead plaintiffs in this litigation (Docket # 116). After reviewing the motion
and supporting papers, the Court finds that the motion should be GRANTED.

Upon the motion Showing adequate cause, it is ordered that Erin P. McDaniel is hereby

admitted pro hac vice, to represent lead plaintiffs

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CE BOUIE DONALD
UNITED STATES DISTRICT IUDGE

 
 
    

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